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               5                                     DISTRICT OF NEVADA

               6 UNITED STATES0FAMERICA,                         )
                                                                 )
               7                        Plaintiff,               )
                                                                 )
               8            v.                                   )        2:1I-CR-H -JCM -ICW H)
                                                                 )
               9 JOSEPH M MIREZ,                                 )
                                                                 )
              Itl                       oetkndant.               )                                                         j
              11                             FINAL ORDER OF FORFEITURE AS TO
    .
                                                DEFENDANT JO SEPH RAM IREZ                                                 l
.
              12                                                                                                           j
                            On Jtme21,201lsthisCourtenteredthePreliminaryOrderofForfeiturepursuanttoFed. R.
              13
        .
                     Crim.P.32.2(b)(1)and(2))Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,United
    .         14
                     SGtesCode,Section2461(c);Title 18,United StatesCode,Section982(a)(2)(B);Title18,United
              15
                     StatesCodesSection 1029(c)(1)(C);and Title21,United StatesCode,Section 853(p),forfeiting
              16
                     property ofdefendantJOSEPH RAM IREZ to theUnited SutesofAmerica. Prelim inary Orderof
              17
                     Forfeiture,ECF No.70.
              18
                            OnOctober1,2012,thisCourtenteredtheAmendedPrelim inaryOrderofForfeitm epm suant
              19
                     toFed.R.Crim.P.32.2(b)(1)and (2);Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle
              20
                     28,UnitedStatesCode,Section2461(c);Title 18,United StatesCode,Section982(a)(2)(B);Title
              21
'   . .
                     18,United StatesCode,Section 1029(c)(1)(C);andTitle21,United StatesCode,Section 853(p),
              22
                     forfeiting property ofdefendantJOSEPH ILAM IREZ to the United States ofAm erica. Am ended
,       .
              23                                             '
                     Prelim inary OrderofForfeiture,ECF No.140.
              24                                                                                                      'j
                           OnOctober16,2012,thisCoul'
                                                    tenteredtheSecondAmendedPreliminaryOrderofForfeittzre '
                                                                                                          ;
        '     25                                                                                                           @
                    pursuanttoFed.R.Crim.P.32.2(b)(1)and (2);Title 18,United StatesCodesSection981(a)(1)(C)
              26
                    andTitle28,UnitedSttesCode,Section2461(c);Title18,UnitedStatesCode,Section982(a)(2)(B);
     Case 2:11-cr-00063-JCM-CWH        Document 149     Filed 10/24/12    Page 2 of 2




 1 Title 18,United StatesCode,Section 1029(c)(1)(C);and Title 21,United StatesCode,Sectiop
2 8534.
      19,forfeitingpropertyofdefendantlosEpl'
                                            lRAM llkEztotheUnitedstatesofAmerica.Second
3      Amended Prelim inmy OrderofForfeittlre,ECF No.147.
4             IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed.R.Crim .P.
5 32.2(b)(4)(A)mld(B);Titlel8,UnitedStatesCode,Section981(a)(l)(C)andTitle28,UnitedStates
6 Code,Section2461(c);Title 18,United StatesCode,Section982(a)(2)(B);Title 18,United States
7 Code,Section1029(c)(l)(C);andTitle21sUnitedStatesCode,Section8531)thattheforfeitureof
8      theproperty nnmedin the Second Amended Prelim inary OrderofForfeitureistinalasto defendant
9      JOSEPH RAM IREZ.
10            D ATED this         ay of                     ,2012.
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